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 by Barnes Law Group, LLC,

                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF NEW JERSEY

  In re:                                             Chapter 11

  LTL MANAGEMENT LLC,                                Case No. 23-12825 (MBK)

                  Debtor.

           JOINDER OF MOTIONS TO DISMISS BY GEORGIA STATE COURT
           CLAIMANTS REPRESENTED BY THE BARNES LAW GROUP, LLC

           The Georgia State Court Claimants Represented by The Barnes Law Group, LLC

 (“Georgia Claimants”) respectfully move to dismiss Debtor’s second bankruptcy petition filed in

 this case on April 4, 2023 pursuant to Section 1112(b) of the Bankruptcy Code and Rule 9011 of

 the Bankruptcy Rules. In support of this motion, and in the interests of judicial efficiency, the

 Georgia Claimants adopt and incorporate the arguments set forth by other parties to these

 proceedings as follows:

           1.   Tort Claimant Committee (Dkt. 286, filed on April 24, 2023);
           2.   Paul Crouch (Dkt. 346, filed on April 28, 2023);
           3.   Ad Hoc Committee of States (Dkt. 350, filed on April 28, 2023);
           4.   MRHFM’s Plaintiffs (Dkt. 358, filed on April 28, 2023);
           5.   US Trustee (Dkt. 379, filed on May1, 2023); and
           6.   Arnold & Itkin (Dkt. 384, filed on May 1, 2023)

           Georgia Claimants do not restate those arguments here, and instead emphasize that under

 any interpretation the holdings and precedential value of LTL Mgmt., LLC v. Those Parties Listed

 on Appendix A to Complaint (In re LTL Mgmt., LLC), 58 F.4th 738, 64 F.4th 84, 747 (3d Cir.
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 2023), make clear that Debtor and its non-debtor corporate parents cannot manufacture financial

 distress solely for the purpose avoiding their tort liability through the bankruptcy system.

            WHEREFORE, the Georgia Claimants respectfully request the Court dismiss with

 prejudice Debtor’s second bankruptcy petition this case.

 Dated: May 9, 2023

                                               McMANIMON, SCOTLAND
                                               & BAUMANN, LLC
                                               Attorneys for Claimants Represented
                                               by Barnes Law Group, LLC


                                                By: /s/ Sari B. Placona
                                                    SARI B. PLACONA




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